     Case 2:16-cr-00046-GMN-NJK          Document 528         Filed 06/15/16     Page 1 of 1




 1

 2

 3

 4                                 UNITED STATES DISTRICT COURT
 5                                        DISTRICT OF NEVADA
 6                                                   ***
 7     UNITED STATES OF AMERICA,                                Case No. 2:16-cr-00046-GMN-PAL
 8                                           Plaintiff,
              v.                                                             ORDER
 9
       CLIVEN BUNDY, et al.,                                   (Mots. for Joinder – Dkt. ##459, 461)
10
                                          Defendants.
11

12            This matter is before the Court on Defendants Gerald A. Delemus, Richard R.
13     Lovelien’s Motions for Joinder (Dkt. ##459, 461) to Defendant Steven Stewart’s Motion to
14     Extend Deadline to File Motion to Sever (Dkt. #450). These Motions are referred to the
15     undersigned pursuant to 28 U.S.C. § 636(b)(1)(A) and LR IB 1-3 and 1-7 of the Local Rules
16     of Practice. To avoid serial motions on the same matter, the Court finds good cause to grant
17     the requests to join in Stewart’s Motion to extend, which the Court granted on June 1, 2016.
18            Accordingly,
19            IT IS ORDERED: Defendants Gerald A. Delemus, Richard R. Lovelien’s Motions for
20     Joinder (Dkt. ##459, 461) are GRANTED. Defendants Delemus and Lovelien’s deadline to file
21     severance motions is extended by 30 days until June 27, 2016.
22            Dated this 14th day of June, 2016.
23

24                                                            PEGGY A. LEEN
                                                              UNITED STATES MAGISTRATE JUDGE
25

26

27

28
                                                          1
